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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  DISPLAY TECHNOLOGIES, LLC,            §
                                        §
        Plaintiff,                      §              Case No: 0:21-cv-62206-WPD
                                        §
  vs.                                   §              PATENT CASE
                                        §
  TRIVIDIA HEALTH, INC.,                §
                                        §
        Defendant.                      §
  _____________________________________ §

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

  Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

  According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

  court by filing a notice of dismissal at any time before service by the adverse party of an answer.

  Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Trividia Health,

  Inc. with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.



  Dated: February 1, 2022                       Respectfully submitted,

                                                /s/ Barbra A. Stern
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                                                ATTORNEY(S) FOR PLAINTIFF




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                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies that the foregoing document was filed electronically on
  February 1, 2022, and was served via CM/ECF on all counsel who are deemed to have consented
  to electronic service.

                                              /s/ Barbra A. Stern
                                              Barbra A. Stern, Esquire




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   PREJUDICE                                                                               Page | 2
